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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

UNITED STATES OF AMERICA
ex rel. WILLIAM STILLWELL and
PENELOPE STILLWELL

        Relators,                                                     Case No. 8:17-CV-1894-T-17AAS

v.

STATE FARM FIRE AND CASUALTY CO.
and MOTORISTS MUTUAL INSURANCE CO.

        Defendants


         AMENDED1 MOTION TO WITHDRAW AS COUNSEL FOR RELATORS
              WILLIAM STILLWELL AND PENELOPE STILLWELL
                AND INCORPORATED MEMORANDUM OF LAW
        Kevin J. Darken, counsel for Relators William Stillwell and Penelope Stillwell,

respectfully moves pursuant to Local Rule 2.03(b) for leave to withdraw as counsel of record in

the above-captioned action. Undersigned counsel provided prior written notification to the

Relators of his intention to withdraw on March 27, 2018 and advised Relators to obtain other

counsel if any of them wished to continue to litigate this case following the Government’s

eventual non-intervention. Undersigned counsel also provided Relators the 10 day notice of

intent to file this motion required by Local Rule 2.03(b) on June 4, 2018.

        The Relators’ contingent fee agreement permits withdrawal upon prior written

notification, which was made on March 27, 2018. The fee agreement also specifically permits

withdrawal if, as in this case, the Department of Justice declines to intervene. See attached

Declaration of Kevin J. Darken.


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  The text of this amended motion is the same as Doc. 10. The only difference between this motion and Doc. 10 is
that this amended motion has been served on the Relators by email.
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       The 90 day period for service of the complaint runs on July 24, 2018. Undersigned

counsel requests that the Relators be given until July 24, 2018 to (1) obtain new counsel, and (2)

serve the Defendant. This would ensure that the progress of this case is not delayed, while at the

same time protecting the right of Relators to obtain new counsel.

                                  MEMORANDUM OF LAW

       Local Rule 2.03(b) permits an attorney to withdraw from a case with leave of Court if (1)

10 days’ notice has been given to the parties involved and to opposing counsel, and (2) the

withdrawal will likely not cause continuance or delay. Here, notice was given on March 27, 2018

and again on June 4, 2018, immediately prior to filing of this motion. The withdrawal sought will

likely not cause continuance or delay because the Relators have had almost three months so far

to obtain new counsel and have until July 24, 2018 in which to serve the complaint on the

Defendant.

       Florida Rule of Professional Conduct 4-1.16(b) provides that an attorney may withdraw if

“withdrawal can be accomplished without material adverse effect on the interests of the client”

or if “a client insists on pursuing an objective that the lawyer considers…. imprudent”, if “the

representation will result in an unreasonable financial burden on the lawyer”, or if “other good

cause for withdrawal exists.” All of these grounds exist here:

   1. Withdrawal can be accomplished without material adverse effect on the interests of the
      client because the Relators have had three months already to obtain new counsel and
      because service of process is not due until July 24, 2018.

   2. “Other good cause for withdrawal” exists in the form of the terms of Relators’ contingent
      fee agreement which specifically permits withdrawal in the event the Department of
      Justice decides not to intervene. This contractual bargain must be capable of being
      enforced through a motion for and order of withdrawal.


       Although Relators may not engage in pro se litigation in a non-intervened False Claims

Act case, the Court has the authority to permit the Relators additional time in which to obtain
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new counsel. United States ex rel. McLean v. County of Santa Clara, 2009 WL 3297502, *3

(N.D. Cal., October 9, 2009) (staying FCA case from October 9 through November 30, 2009,

after granting attorney’s motion to withdraw, to permit relator time to retain her fourth lawyer).

                                Local Rule 3.01(g) Certification

       Undersigned counsel has been advised by AUSA Randy Harwell that the Government

takes no position on this motion.

                                                     Respectfully submitted,



                                                     Kevin J. Darken
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                                                     Fax: 813-513-4948
                                                     Attorney for Relators




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing has been furnished by ECF to counsel of record

on Relators William Stillwell, wstillwe@iupui.edu and Penelope Stillwell pstillwe@hotmail.com

on June 18, 2018.

                                                       /s/ Kevin J. Darken
                                                       Kevin J. Darken




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